Case 2:03-cv-02409-.]PI\/|-tmp Document 231 Filed 04/19/05 Page 1 of 3 Page|D 135

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IN THE UNITED sTATEs DISTRICT coURT /S *

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ROBEHT§? DE':CUO
CLEHK.US.DRJlCT
W.D. OF `FN, MEMPH|S

REBEccA H. TREACE,
Plaintiff,
v. No. 03-2409 Ml/v

UNUM LIFE INSURANCE coMPANY
oF AMERICA,

vvv\¢vvvvv\_¢

Defendant.

 

ORDER OF REFERENCE

 

Pending before the Court are Plaintiff's Renewed Motion for
Sanctions and for Modification of the Court’s Scheduling Order,
filed January 21, 2005, and Plaintiff’s Report of Face to Face
Meeting Concerning Plaintiff’s Renewed Motion for Sanctions and
for Modifioation of the Court's Scheduling Order and Plaintiff's
Second Motion for Sanctions, filed March 15, 2005. Defendant
responded in opposition to these motions on April ll, 2005.

This matter is hereby referred to the United States
Maqistrate Judge for report and reoommendation. Any exceptions
to the Magistrate Judge’s order shall be made within ten (lO)
days of the Magistrate Judge’s order, setting forth particularly
those portions of the order excepted to and the reasons for the

exceptions.

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With F\U

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so 0RDERED this § day er Aprii, 2005.

@MlQ

P. MCCALLA
UO ITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 231 in
case 2:03-CV-02409 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

